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 12
 13                         UNITED STATES DISTRICT COURT
 14
                           CENTRAL DISTRICT OF CALIFORNIA
 15
 16     ROBERTO VERTHELYI, on behalf                )   No. 2:24-cv-05028-MWF-JC
        of himself and all others similarly         )
 17     situated,                                   )   CLASS ACTION
 18                                                 )
                      Plaintiff,                    )   PLAINTIFF’S OPPOSITION
 19                                                 )   TO DEFENDANTS’ MOTION
                      v.                            )   TO CERTIFY ORDER FOR
 20                                                 )   INTERLOCUTORY APPEAL
 21     PennyMac Mortgage Investment Trust          )   PURSUANT TO 28 U.S.C.
        and PNMAC Capital Management,               )   § 1292(b) AND TO STAY
 22     LLC,                                        )   PROCEEDINGS PENDING
                                                    )   APPEAL
 23                   Defendants.                   )
                                                    )   Date: April 28,2025
 24                                                 )   Time: 10:00 a.m.
 25                                                 )   Ctrm: 5A
                                                    )   Judge: Michael W. Fitzgerald
 26
 27
 28
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   1         Plaintiff Robert Verthelyi submits this memorandum in opposition to
   2   Defendants’ motion to certify for interlocutory appeal the Court’s Order dated
   3   February 26, 2025, denying Defendants’ Motions to Dismiss (ECF 52), pursuant to
   4   28 U.S.C. § 1292(b) and to stay proceedings pending appeal filed by PennyMac
   5   Mortgage Investment Trust and PNMAC Capital Management, LLC (collectively,
   6   “PennyMac” or “Defendants”) (ECF 53) (“Motion” or “Mtn.”).
   7   I.    INTRODUCTION
   8         The efficient administration of appellate justice ordinarily requires finality.
   9   See Cobbledick v. U.S., 309 U.S. 323, 324-25 (1940). An interlocutory appeal is a
 10    significant departure from the norm reserved only for the most “exceptional
 11    situations.” In re Cement Antitrust Litig., 673 F.2d 1020, 1026 (9th Cir. 1981). Yet,
 12    Defendants seek the extraordinary relief of interlocutory appeal based on nothing
 13    but their disagreement with the Court’s determinations that: (1) California law
 14    applies despite the Maryland choice-of-law provision in the Declaration of Trust
 15    and (2) Plaintiff adequately alleged UCL claims under the unlawful and unfairness
 16    prongs. Defendants fall far short of meeting their high burden of demonstrating that
 17    (i) a controlling question of pure law exists, (ii) upon which there is a substantial
 18    ground for difference of opinion, and (iii) early appellate review would resolve the
 19    litigation. 28 U.S.C. § 1292(b); Couch v. Telescope Inc., 611 F.3d 629, 633 (9th
 20    Cir. 2010).
 21          First, Defendants do not challenge the Court’s use of California’s test for
 22    determining which choice of law applies. Mtn. at 3-4. Instead, Defendants either
 23    raise entirely new arguments at this late stage, or they seek to challenge
 24    determinations based on mixed questions of law and fact. For example, the Court
 25    assessed the allegations in the Complaint and the existing fact record in determining
 26    that California has a materially greater interest than Maryland. Order at 10-13.
 27    Defendants ignore the factual determinations and raise new legal arguments not
 28
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   1   previously considered by the Court in their attempt to raise pure legal questions.
   2   Defendants waived their new arguments, but even if the Court were to consider
   3   these arguments, they would fail. Furthermore, Defendants failed to demonstrate
   4   that a substantial ground for a difference of opinion exists with respect to the
   5   Court’s choice of law determination. Defendants do not cite to a single relevant case
   6   to support their contention that the Court’s choice of law determination is proper
   7   for interlocutory appeal. Nor would an interlocutory appeal expedite resolution of
   8   this action, as this matter could proceed here even if Maryland law applied.
   9         Second, Defendants seek an early challenge of this Court’s determination that
 10    Plaintiff had adequately alleged violations of California’s Unfair Competition Law
 11    (the “UCL”), under both the unlawful and unfairness prongs. As with the choice of
 12    law determination, this issue involved mixed questions of law and fact. The Court
 13    interpreted the LIBOR Act within the context of PennyMac’s Articles which the
 14    Court judicially noticed at Defendants’ request. Thus, the Court’s determinations of
 15    UCL violations also does not present a controlling question of law. Defendants also
 16    fail to demonstrate a substantial ground for differing opinion, other than their own
 17    self-interested reading of the LIBOR Act. Finally, even if Defendants are found to
 18    have complied with the LIBOR Act, which is not the case, that would not terminate
 19    this litigation because they may still be deemed liable under the UCL’s unfairness
 20    prong.
 21          Because Defendants cannot meet the high burden necessary for the
 22    extraordinary relief sought, the Court should deny the Motion. Likewise, the Court
 23    should deny Defendants’ request to stay these proceedings because regardless of
 24    which state’s law applies or how the LIBOR Act is interpreted, this case will move
 25    forward, and no efficiencies will be gained through the delay.
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   1   II.   BACKGROUND
   2          On June 14, 2024, Plaintiff initiated this class action alleging that
   3   Defendants’ adoption of a fixed dividend rate in perpetuity on its fixed-to-floating
   4   Series A and Series B Preferred Shares (the “Preferred Shares”) in violation of the
   5   Adjustable Interest Rate (LIBOR) Act (the “LIBOR Act”), 12 U.S.C. § 5801, et seq.
   6   is both unlawful and unfair under the UCL. Compl. ¶¶ 1-21. The LIBOR Act
   7   requires that “tough legacy contracts” (LIBOR contracts that do not provide
   8   adequate fallback provisions providing a clearly defined or practicable
   9   “replacement benchmark” following the cessation of LIBOR) shall use the Federal-
 10    Reserve-Board-selected LIBOR replacement benchmark, the Secured Overnight
 11    Financing Rate (“SOFR”), as the benchmark replacement. Here, the Articles
 12    Supplementary governing the Preferred Shares (the “Articles”) are not permanent
 13    fixed-rate contracts and do not provide a benchmark replacement, nor could a fixed
 14    rate be such a benchmark or benchmark replacement. Nonetheless, PennyMac
 15    adopted a legacy fixed rate instead of SOFR (which would have resulted in
 16    significantly higher interest rate), in violation of the LIBOR Act.
 17          On August 20, 2024, Defendants moved to dismiss the Complaint on two
 18    grounds.1 First, Defendants argued that a Maryland choice-of-law provision
 19    governed the claims, thus prohibiting Plaintiff’s claim under the UCL. MTD at 8-
 20    10. Second, Defendants argued that their use of a fixed rate did not violate the
 21    LIBOR Act. Id. 10-21. Thereafter, Plaintiff opposed the motions, and after the
 22    motions were fully briefed, the Court held a hearing on the motions.
 23          Subsequently, on February 26, 2025, this Court issued an order denying
 24    Defendants’ motions on both grounds (the “Order”). In a thorough, detailed
 25    opinion, the Court conducted a conflict of laws analysis under California’s choice-
 26
 27    1
         Defendant PNMAC does not seek certification of this Court’s denial of its motion
 28    to dismiss. Order 19-20.
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   1   of-law rules to determine whether the Maryland choice-of-law provision was
   2   enforceable. Order at 10-13. The Court’s analysis determined that California has a
   3   materially greater interest in protecting consumers through its statutory scheme,
   4   which permits injured consumers not only to bring class actions to recover their
   5   losses but also to seek injunctive relief to deter and prevent future harm to other
   6   consumers located in the state, such that its law applies in this litigation. Order at
   7   12-13. The Court also concluded that California has a greater interest in offering
   8   protections to both in-state and out-of-state investors who both contract with
   9   California-based companies and expect such California companies to act in a
  10   manner consistent with Congressional policy goals. Id. at 13.
  11         After determining that California law applied, the Court turned to the
  12   question of whether Defendants’ conduct violated the LIBOR Act. Order at 14-17.
  13   The Court first determined that the LIBOR Act’s definition of “benchmark
  14   replacement” was ambiguous. Order at 15-16. After determining that the statutory
  15   language was ambiguous, the Court determined that Defendants’ proffered
  16   interpretation conflicted with the legislative purpose driving the LIBOR Act. Order
  17   at 16. The Court found that Plaintiff sufficiently alleged that the parties did not
  18   agree to a fixed-rate instrument and “allowing PennyMac to issue dividends
  19   according to its interpretation would not support the Act’s apparent goal of leaving
  20   intact ‘the contractual terms the parties had agreed to’” and that Plaintiff has
  21   sufficiently alleged that Defendants “violated the LIBOR Act when it issued
  22   dividends at a fixed rate.” Order at 17. The Court found that Plaintiff has sufficiently
  23   stated claims against Defendants under both the unlawful and unfair prongs of the
  24   UCL, which Defendants do not seek to appeal. On March 25, 2025, Defendants
  25   filed the current Motion seeking to certify the Court’s Order for interlocutory
  26   appeal.
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   1   III.   LEGAL STANDARD
   2          The final judgment rule restricts the courts of appeal to only “appeals from
   3   final decisions of the district courts of the United States.” 28 U.S.C. § 1291; Couch,
   4   611 F.3d at 632. Congress has created a very narrow exception to the final judgment
   5   rule under 28 U.S.C. § 1292(b) to allow the courts of appeals to hear interlocutory
   6   appeals “only in exceptional situations in which allowing an interlocutory appeal
   7   would avoid protracted and expensive litigation.” Cement, 673 F.2d at 1026.
   8          “The party seeking certification of an interlocutory order has the burden of
   9   establishing the existence of such exceptional circumstances.” Gonzalez v. San
  10   Francisco Hilton, Inc., 2023 WL 8438574, at *1 (N.D. Cal. Dec. 5, 2023). The
  11   moving party bears the high burden of demonstrating that (i) there is a controlling
  12   question of law, (ii) on which there is substantial ground for a difference of opinion,
  13   and (iii) resolving the question will materially advance the ultimate termination of
  14   the litigation. City of Arcadia v. Dow Chem. Co., 2021 WL 3207956, at *1 (C.D.
  15   Cal. June 9, 2021) (Fitzgerald, J.); 28 U.S.C. § 1292(b). Furthermore, even where
  16   each requirement is met, certification is entirely within the district court’s
  17   discretion. See Swint v. Chambers Cty. Comm'n, 514 U.S. 35, 47 (1995); United
  18   States v. Tenet Healthcare Corp., 2004 WL 3030121, at *1 (C.D. Cal. Dec. 27,
  19   2004).
  20          The first prong requires that the question be both “controlling” and “of law.”
  21   A controlling question is one in which “resolution of the issue on appeal could
  22   materially affect the outcome of the litigation in the district court.” In re Cement
  23   Antitrust Litig., 673 F.2d at 1026. If resolving the question on appeal would merely
  24   advance judicial economy, then the question is not controlling. Williams v. Alameda
  25   Cty., 657 F. Supp. 3d 1250, 1254 (N.D. Cal. 2023). For the purposes of interlocutory
  26   appeal, a question of law must be one of “pure law.” Clevenger v. Riviana Foods,
  27   Inc., 2020 WL 2527948, at *3 (C.D. Cal. Apr. 7, 2020); Smith v. Gonzales,
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   1   2020 WL 4818716, at *2 (E.D. Cal. Aug. 19, 2020) (collecting cases). A pure
   2   question of law is one that the Court of Appeals can “decide quickly and cleanly
   3   without having to study the record.” Moebius v. HB USA Holdings, Inc., 2021 WL
   4   9747608, at *2 (C.D. Cal. Sept. 3, 2021) (quoting Arenholz v. Bd. of Trs., 219 F.3d
   5   674, 677 (7th Cir. 2000)). If the question requires the application of a legal standard
   6   to the facts of a case, then it is not a question of pure law that may be certified for
   7   interlocutory appeal. Williams, 657 F. Supp. 3d at 1254.
   8         As to the second prong, the moving party must demonstrate that there are
   9   substantial grounds for a difference of opinion. Couch, 611 F.3d at 633. There must
  10   be “a sufficient number of conflicting and contradictory opinions.” Id. at 633-34,
  11   (quoting Union County, Iowa v. Piper Jaffray & Co., 525 F.3d 643, 647 (8th Cir.
  12   2008)). The moving party cannot show that there are substantial grounds for a
  13   difference of opinion by merely relying on the issue being a matter of first
  14   impression. Id. at 634 (citing In re Flor, 79 F.3d 281, 284 (2d Cir. 1996)).
  15         Finally, the moving party must show that immediate resolution of the issue
  16   will materially advance termination of the litigation and “minimiz[e] the total
  17   burdens of litigation on parties and the judicial system by accelerating or at least
  18   simplifying trial court proceedings.” Dukes v. Wal-Mart Stores, Inc., 2012 WL
  19   6115536, at *5 (N.D. Cal. Dec. 10, 2012) (quoting Wright & Miller, 16 Fed. Prac.
  20   & Proc. § 3930). See also Govea v. Gruma Corp., 2021 WL 6618539, at *2 (C.D.
  21   Cal. Oct. 14, 2021) (Fitzgerald, J.) (“The purpose of an interlocutory appeal is to . .
  22   . ‘save the courts and the litigants unnecessary trouble and expense.”) (quoting John
  23   v. United States, 247 F.3d 1032, 1051 (9th Cir. 2001) (en banc) (Rymer, J., special
  24   concurrence)).
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   1   IV.   ARGUMENT
   2         A.       Application of California’s Choice of Law Rule Cannot be
   3                  Certified for Interlocutory Appeal.
   4         Defendants fail to meet their burden under Section 1292(b) on the issue of
   5   whether the Court’s application of California’s choice-of-law rule to the allegations
   6   in Plaintiff’s allegations and the existing fact record can be certified for
   7   interlocutory appeal.
   8                  1.    Defendants have not raised a controlling question of law.
   9         A choice-of-law analysis that requires factual findings and the application of
  10   law to the facts, is not a “pure legal” question reviewed de novo as Defendants
  11   suggest. Mtn. at 5:8-19. Defendants quote EB Holdings II, Inc. v. Illinois Nat’l Ins.
  12   Co., 108 F.4th 1211, 1218 (9th Cir. 2024), “[w]e review choice-of-law questions de
  13   novo,” Mtn. at 6, but omit the entire standard, which is—“[w]e review choice-of-
  14   law questions de novo, but review underlying factual findings for clear error.”
  15   108 F.4th at 1218. EB Holdings is also inapposite because it involved an appeal of
  16   a choice-of-law determination after a final judgment was rendered, and not an
  17   interlocutory appeal. Id. at 1218. Ninth Circuit law is clear—a court’s determination
  18   of which state’s choice-of-law rules apply is a question of pure law, but its
  19   application is a mixed question of law and fact that on traditional appeal is reviewed
  20   for clear abuse of discretion. Shannon-Vail Five, Inc. v. Bunch, 270 F.3d 1207, 1210
  21   (9th Cir. 2001) (“We must select the correct choice-of-law rule, a pure legal
  22   question, and then apply that rule to the facts of the case, a mixed question of law
  23   and fact.”).
  24         Defendants do not dispute the Court’s application of California choice-of-
  25   law rules, or the Court’s finding that the Maryland choice-of-law provision in the
  26   Declaration of Trust applied. Moreover, Defendants do not even dispute the Court’s
  27   application of California’s two-prong test for determining whether a choice-of-law
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   1   clause is enforceable. Defendants simply dispute application of that test to the
   2   record before it when it determined Maryland law is contrary to a fundamental
   3   policy of California and California has a materially greater interest. Order at 10-13.
   4         In reaching these determinations, the Court analyzed the specific claim
   5   alleged in the Complaint, the allegations in the Complaint, and the legal and factual
   6   record before it, including for example Defendants’ residency and the parties
   7   differing factual arguments regarding where the alleged misconduct took place.
   8   Order at 11. The Court properly held that California has a fundamental policy of
   9   providing a private right to injunctive relief, which would have been unavailable
  10   under Maryland’s Consumer Protection Act. Order at 11-12. Finally, the Court
  11   scrutinized multiple competing state interests, including California’s interest in
  12   protecting its in-state investors; California’s interest in regulating California-based
  13   businesses; Maryland’s interest in regulating businesses incorporated there; and
  14   Maryland’s interest in enforcing contracts created pursuant to its laws. Id. at 13.
  15   These are not questions of pure law but rather a determination of fact, weighing all
  16   the competing interests and studying the legal and fact record presented. Moebius,
  17   2021 WL 9747608, at *2 (C.D. Cal. Sept. 3, 2021).
  18         Courts do not certify for interlocutory appeal choice-of-law determinations
  19   that involve mixed questions of law and fact. None of the cases cited by Defendants
  20   hold otherwise. For example, the choice-of-law determination in Flintkote Co. v.
  21   Avila PLC, 177 F. Supp. 3d 1165, 1172 (N.D. Cal. 2016), was not a pure legal
  22   question (nor did it concern a motion to certify a choice-of-law issue for
  23   interlocutory appeal). Flintkote involved a summary judgment motion where the
  24   court weighed the impact of a bankruptcy, numerous agreements, and facts
  25   underlying the choice of law dispute, which does not comprise a pure legal question.
  26   Defendants also cite to Hoffman v. Citibank (S. Dakota), N.A., 546 F.3d 1078 (9th
  27   Cir. 2008) and Starr Indem. & Liab. Co. v. Rolls-Royce, 725 Fed. Appx. 592 (9th
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   1   Cir. 2018), but Hoffman involved the court’s failure to conduct any choice of law
   2   analysis, 546 F.3d at 1082, while Starr is inapposite because the certification motion
   3   was unopposed, the facts were undisputed, and involved the pure legal issue of
   4   whether the correct test had been applied. Rolls-Royce Corporation’s Unopposed
   5   Motion For Certification of March 25, 2016 (Dkt. 66) and May 25, 2016 (Dkt. 69)
   6   Orders For Immediate Appeal To The Ninth Circuit Court Of Appeals by Rolls-
   7   Royce Corporation, No. 14-CV-02100 (D. Ariz. June 29, 2016), ECF No. 70; Br.
   8   of Defendant Appellants at 3, Starr Indem. & Liab. v. Rolls-Royce, No. 16-17291
   9   (9th Cir. July 17, 2017), ECF No. 9 (July 17, 2017).
  10         Defendants, at Mtn. 5-6, assert that the choice of law determinations made in
  11   this action are “controlling” legal questions because courts in other cases have
  12   dismissed UCL claims upon a finding that a different state’s law applies. For
  13   example, in Hamby v. Ohio Nat. Life Assur. Corp., 2012 WL 2568149 (D. Haw.
  14   June 29, 2012), the court (applying Hawaii law) held that it could determine the
  15   applicable choice of law on a motion to dismiss where the pleadings contained all
  16   necessary facts needed to decide that issue.
  17         Here, Plaintiff’s allegations support application of California law, not
  18   Maryland law, and Plaintiff strongly opposed application of the Declaration of
  19   Trust’s choice of law provision. The parties raised, and the Court decided, a series
  20   of mixed legal and factual disputes regarding fundamental California policy and
  21   states’ interests. As set forth in Czuchaj v. Conair Corp., 2014 WL 1664235, at *9
  22   (S.D. Cal. Apr. 18 2014)—a case cited by Defendants—sometimes choice of law
  23   requires a careful analysis of the different bodies of law or interests of the different
  24   states, and cannot be determined without a factual record. Here, the Court made its
  25   determinations based on a robust factual and legal from which it engaged in a
  26   careful analysis of the facts and law and determined California law applied. See,
  27   e.g., Order 4-6. In other words, the decision to dismiss the UCL claim was not a
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   1   controlling legal question based on the pleadings, but a far more complex and mixed
   2   question of law and fact. That some cases are less complex when it comes to a
   3   choice of law determination and may be reduced to a controlling pure legal
   4   question, is of no moment and contrary to what took place here.
   5                2.    There is no substantial ground for difference of opinion.
   6         Defendants fail to show a substantial ground for difference of opinion.
   7         Defendants misstate the standard for “substantial ground for difference of
   8   option” by claiming they need only show “reasonable jurists might disagree on an
   9   issue’s resolution.” Mtn. at 6 (relying on Reese v. BP Expl. (Alaska) Inc., 643 F.3d
  10   681, 688 (9th Cir. 2011)). But the Ninth Circuit in Reese was discussing a matter of
  11   first impression, id.; here Defendants set forth no indication of any contrary
  12   positions outside of their own self-serving argument.
  13         The Reese standard does not apply here because California’s choice-of-law
  14   rule and the reasoning in Walter are not novel. Bluestar Genomics v. Song, 2024
  15   WL 54701, at *9 (N.D. Cal. Jan. 4, 2024) (rejecting Reese standard in a case that
  16   did not present “novel issues”). They stem from the Restatement (Second) of
  17   Conflict of Laws § 187(2)(b) (1971), published over 50 years ago. Section 187(2)(b)
  18   has been adopted by many states, including Maryland. Nat’l Glass, Inc. v. J.C.
  19   Penney Props., Inc., 650 A.2d 246, 248 (Md. App. Ct. 1994) (reversing dismissal
  20   of contract dispute because parties’ contractual choice of Pennsylvania law was
  21   contrary to fundamental Maryland policy and Maryland had a materially greater
  22   interest in the contract to be performed in Maryland).
  23         Courts routinely engage in choice of law analyses and multiple courts have
  24   held that California’s interest in enforcing the UCL is substantially greater than
  25   another state’s interest in enforcing a contractual choice-of-law provision. See
  26   Bridge Fund Cap. Corp. v. Fastbucks Franchise Corp., 622 F.3d 996, 1003-4 (9th
  27   Cir. 2010) (California law applied to validity of arbitration clause even though the
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   1   franchise agreement adopted Texas law and was formed in Texas, the franchise was
   2   based in Texas, royalties and franchise fees were received in Texas, and franchisees
   3   trained in Texas, because California has a substantial, case-specific interest in
   4   protecting franchisees from losing statutory protections); Ruiz v. Affinity Logistics
   5   Corp., 667 F.3d 1318, 1323 (9th Cir. 2012) (reversing dismissal of employment
   6   action were application of contractual choice of law violated fundamental policy of
   7   ensuring worker protections); Vrugtman v. It’s Just Lunch Int’l LLC, 2021 WL
   8   4979443 (C.D. Cal. Sept. 24, 2021) (contractual choice of Pennsylvania law not
   9   applicable to UCL claim); Bermudez v. PrimeLending, 2012 WL 12893080 (C.D.
  10   Cal. Aug. 14, 2012) (contractual choice of Texas law not applicable to UCL claim);
  11   Clark v. Advanceme, Inc., 2009 WL 10672598 (C.D. Cal. 2009) (contractual choice
  12   of New York law not applicable to UCL claim); Clark v. Advanceme, Inc., 2009 WL
  13   10672598 (C.D. Cal. 2009) (contractual choice of New York law not applicable to
  14   UCL claim); Ribbens Int’l., S.A. de C.V. v. Transport Int’l. Pool, Inc., 47 F. Supp.
  15   2d 1117, 1123 (C.D. Cal. 1999) (contractual choice of Pennsylvania law not
  16   applicable to UCL claim).
  17         Defendants’ assert that reasonable jurists could disagree with the reasoning
  18   in Walter v. Hughes Commc’ns, Inc., 682 F. Supp.2d 1031, 1042 (N.D. Cal. 2010)),
  19   because the existence of different remedies is not itself a fundamental conflict. But
  20   the Court did not rest its decision on the fact that the states have differing remedies
  21   (i.e., a per se conflict because there are different remedies available). Rather, the
  22   Court went a step further in finding that the specific difference in remedies between
  23   the UCL (which provides for public injunctive relief) and MCPA (which is
  24   restricted to monetary relief) violate California’s strong fundamental policy of
  25   deterring unfair practices and protecting consumers. Order at 12 (relying on Walter,
  26   682 F. Supp.2d at 1042 (N.D. Cal. 2010)). [J]ust because counsel contends that one
  27   precedent rather than another is controlling does not mean there is such a substantial
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   1   difference of opinion as will support an interlocutory appeal.” Couch, 611 F.3d at
   2   633 (quoting 3 Fed. Proc., Lawyers’ Ed. § 3:212 (2010)). Moreover, established
   3   principles of law, such as the application of California’s choice-of-law analysis,
   4   often leads to differing results. See Couch, 611 F.3d at 633 (“that settled law might
   5   be applied differently does not establish a substantial ground for difference of
   6   opinion.”). Contrary to Defendants’ contention, the court in Irwin Nats. v.
   7   Securenet, LLC, did not “reject[] Walter’s approach . . .”, Mtn. at 9; it declined to
   8   address Walter because the plaintiffs lacked standing for injunctive relief. 2010 WL
   9   11598030, at *2 (C.D. Cal. May 25, 2010).
  10         In addition, Defendants argue that investors are unlike other types of
  11   consumers, and thus reasonable jurists could differ on whether Walter applies.
  12   However, Defendants offer no support for their contentions by pointing to specific
  13   language in Walter, cases adopting Walter’s reasoning, the UCL, or Section
  14   187(2)(b) of the Restatement—none of which differentiated between investors and
  15   consumers.
  16         Certification requires more than disagreement with a Court’s conclusion.
  17   “[I]f district courts certified an order for appeal in every instance in which a party
  18   disagreed with a court’s opinion, the ‘exceptional circumstances’ requirement for
  19   interlocutory appeals would be rendered meaningless. . . .” Rieve v. Coventry Health
  20   Care, Inc., 870 F. Supp. 2d 856, 880 (C.D. Cal. 2012) (quoting Strauss v. Sheffield
  21   Ins. Corp., 2006 WL 6158770, at *4 (S.D. Cal. June 23, 2006)). “The fact that
  22   Defendants are not satisfied by that analysis is not a strong enough argument to
  23   create the exceptional circumstances required for interlocutory appeal.” Id. Yet,
  24   Defendants’ arguments boil down to no more than a disagreement with the Court’s
  25   conclusion that California has a more substantial interest than Maryland in the
  26   litigation and its law should apply.
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   1         Defendants also assert for the first time that Maryland law provides grounds
   2   for equitable relief and thus there is no conflict with a fundamental California
   3   policy. Mtn. at 7-11. A court is not required to sua sponte survey all the laws of
   4   Maryland (including laws of claims not asserted), to determine whether a
   5   fundamental conflict of law exists between the actual claim asserted and the laws
   6   of the states involved. Defendants also had every opportunity to assert the reasons
   7   they contend that Maryland law more broadly does not fundamentally conflict with
   8   California law in the context of the UCL claim and alleged violation of federal law,
   9   but failed to do so. This argument is therefore waived. See Avon Ins., PLC v.
  10   Lubinski, 1993 WL 300557, at *2 (N.D. Cal. July 22, 1993) (“If a party simply
  11   inadvertently failed to raise the arguments earlier, the arguments are deemed
  12   waived.”). “A motion for certification is not an opportunity for Plaintiff to debate
  13   the merits of the underling motion . . . or to present arguments that could have been,
  14   but were not, previously raised.” Ordaz Gonzalez v. Cty. of Fresno, 2020 WL
  15   3412731, at *5 (E.D. Cal. June 22, 2020).
  16         Next, Defendants assert that the relief sought does not amount to “public
  17   relief,” pursuant to the definition in McGill v. Citibank, N.A., 2 Cal. 5th 945, 961
  18   (Cal. 2017). Mtn. 8 n.2. But in McGill, the California Supreme Court held that an
  19   arbitration provision in a private contract for a credit card between a consumer and
  20   an issuer was contrary to UCL public policy in favor of public injunctive relief. 2
  21   Cal. 5th at 961 (“[P]ublic injunctive relief remains a remedy available to private
  22   plaintiffs under the UCL and the false advertising law….”). Not every California
  23   citizen was a consumer of the credit card at issue in Citibank. Thus, the fact that the
  24   injunctive relief applies to PennyMac investors does not negate that the injunction
  25   requested constitutes public relief under the UCL.
  26         Defendants appear to be asserting that they should not be held liable for their
  27   unlawful and unfair conduct under consumer protections laws, but rather the limits
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   1   of their liability should be contractual. But this case is about PennyMac’s violation
   2   of the LIBOR Act and the UCL and the public injunctive relief needed to ensure
   3   PennyMac pays a floating rate to all current and future shareholders. Only existing
   4   shareholders have standing to bring a contract action (under Maryland and
   5   California law). An injunction requiring PennyMac to adopt SOFR will ensure
   6   California companies’ compliance with the LIBOR Act and deter others from
   7   violating this law, whereas a specific performance action under Maryland law will
   8   not accomplish these fundamental policies of California. This UCL action (versus
   9   a Maryland contract action) will also alleviate PennyMac’s disruption to the retail
  10   market for preferred stock caused by its violation. That a “vast body” of Maryland
  11   law exists, Mtn. at 7-8, fails to account for the actual claim asserted in this case and
  12   the actual relief sought. This case is not primarily about the “payment of money”
  13   and Defendants’ refusal to accept what this case is about, and the relief sought, does
  14   not create a substantial ground for difference of opinion.
  15                3.     Certification will not materially advance the resolution of
  16                       this litigation.
  17         Defendants also cannot establish that interlocutory appeal is likely to
  18   materially advance the resolution of this litigation. Defendants’ argument is
  19   premised entirely on the unsubstantiated assumption that, if Maryland law applies,
  20   Plaintiff’s case will be dismissed with prejudice. Mtn. at 11 (citing Shiguago v.
  21   Occidental Petroleum Corp., 2009 WL 1067234, at *1 (C.D. Cal. Nov. 23, 2009)).
  22   The record demonstrates this is not the case.
  23         At the hearing on Defendants’ Motions to Dismiss, the Court asked
  24   Defendants’ counsel what would happen if the Court held that Maryland law
  25   applied and granted leave to amend the Complaint. (Tr. 7:10-18). Defendants’ only
  26   response was that there was “no basis to keep this case here in California” and they
  27   “would probably…move for transfer….” (Tr. 7:19 – 8:8). Thus, Defendants
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   1   concede that litigation will continue even if Maryland law applies and may require
   2   additional resolution of a motion to transfer.2 The Court could also grant Plaintiff
   3   leave to amend his Complaint and proceed in this Court, even if Maryland law were
   4   to apply. Thus, in addition to the lengthy time required to resolve an interlocutory
   5   appeal,3 time will be spent on a motion to transfer venue, amendments to the
   6   pleadings, and another round of motions to dismiss. As such, an interlocutory appeal
   7   will cause inordinate delay without the benefit of a materially advanced resolution.
   8         B.     The Court’s Determination that PennyMac’s Use of the Fixed-
   9                Rate in Issuing the Dividends Violates the LIBOR Act Cannot be
  10                Certified for Interlocutory Appeal.
  11         Defendants fail to meet their burden to certify the Court’s determination that
  12   PennyMac’s use of the fixed rate violates the LIBOR Act. Mtn. at 1, 11-12.
  13                1.     Defendants have not raised a controlling question of law.
  14         Whether the Articles (which Defendants asked to have judicially noticed)
  15   contain an adequate benchmark replacement rate is necessarily a mixed issued of
  16   fact and law. The Court was required as part of its analysis to determine not only
  17   the meaning of the statute, but also whether the specific fallback provisions
  18   applicable in this case conformed with the statute. Order at 17. Even if the
  19   interpretation of the statute itself is a pure question of law, the application of the
  20
  21
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       2
         Defendants’ contention that there would be no basis to keep the case in California
       is wrong as a matter of law. Defendants maintain their principal places of business
  23   in Los Angeles County, California and as such this is general jurisdiction here,
  24   Complaint ¶¶ 28-29 and the Central District of California is a proper venue.
       28 U.S.C. § 1391. If neither were the case, Defendants could have sought to dismiss
  25   this action for lack of jurisdiction and improper venue under Rule 12(b)(1)-(3).
       3
  26     For reference, in Starr Indem. & Liab. Co., the unopposed motion to certify the
       choice of law question for interlocutory appeal was filed on June 29, 2016.
  27   No. 4:14-cv-02100 (D. Ariz.), ECF No. 70. The Ninth Circuit did not issue its ruling
  28   on the appeal until nearly two years later on June 5, 2018. 725 Fed. Appx. 592.
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   1   facts of a case to a rule of law is a mixed issue of law and fact. Shannon-Vail,
   2   270 F.3d at 1210.
   3         Moreover, whether the use of the fixed-rate violates the LIBOR Act is not a
   4   controlling question of law in this litigation as Defendants can be held liable under
   5   the UCL even if the Ninth Circuit determines that the fixed-rate is a “benchmark
   6   replacement” that complies with the LIBOR Act. Thus, whether the use of a fixed
   7   rate violates the LIBOR Act is not a controlling question of law.
   8         The Court determined that Defendants’ reading of the statute does “not
   9   comport with either the purpose or overall structure of the LIBOR Act” and instead
  10   “would result in enforcement of the exact type of conduct Congress sought to
  11   reform.” Order at 16; see Rodriguez v. Sony Computer Entm’t Am., LLC, 801 F.3d
  12   1045, 1051 (9th Cir. 2015). Even if Defendants’ definition is accepted, the Court
  13   not only held that the conduct violated the UCL as unlawful, but the Court also held
  14   that the conduct violated the UCL as unfair. Order at 19. The UCL establishes “three
  15   varieties of unfair competition—acts or practices which are unlawful, or unfair, or
  16   fraudulent.” Order at 13. Plaintiff’s Complaint articulates that Defendants’ liability
  17   under the UCL in this action can be both unlawful and unfair. Compl. ¶¶ 73-79
  18   (unlawful); ¶¶ 80-82 (unfair). Each of these are separate theories of liability that the
  19   Court separately analyzed and found the conduct violated both prongs. Order at 14-
  20   17 (unlawful); at 18-19 (unfair).
  21         The unfairness prong of the UCL can be satisfied by three separate tests:
  22   (1) the tethering test; (2) the balancing test, whether the practice is immoral,
  23   unethical, oppressive, unscrupulous or substantially injurious to consumers or
  24   (3) the FTC test, whether the practice’s impact on the victim outweighs the reasons,
  25   justifications, and motives of the alleged wrongdoer. Turner v. Porsche Cars N.
  26   Am., Inc., 2024 WL 3533834, at *4 (C.D. Cal. June 19, 2024) (Fitzgerald, J.); see
  27   also Order at 18, citing Doe v. CVS Pharmacy, Inc., 982 F.3d 1204, 1214 (9th Cir.
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   1   2020). The Court found that the unfairness prong was met based on the first test,
   2   holding that the conduct was “sufficiently tethered to a policy goal for which
   3   Congress enacted the LIBOR Act.” Order at 18. That holding is not disrupted even
   4   if the Ninth Circuit were to find the fixed rate is a benchmark replacement.
   5   Furthermore, while Plaintiff asserts that all three tests were met, the Court did not
   6   reach the other two tests.
   7         Indeed, the legislative history and policy goals of the LIBOR Act make clear
   8   that PennyMac’s conduct was unethical and significantly harmful to consumers,
   9   thus satisfying the balancing test. For the same reasons, this conduct also satisfies
  10   the FTC test, as PennyMac has no policy justification that outweighs the significant
  11   harm here.
  12         Defendants wrongly assert that the Plaintiff cannot bring a claim under
  13   UCL’s “unfairness” prong because of federal preemption and the UCL’s safe
  14   harbor. Mtn. at 14-15. Plaintiff opposed these arguments already, Opp. at 14-17,
  15   but the Court never reached the question because the Court had already held that
  16   Defendants’ conduct was unlawful under the statute. Order at 17-18. Whether
  17   Plaintiff’s claim for unfair conduct falls into the UCL safe harbor was not decided.
  18   Defendants cannot assume that they win on the merits of this question simply
  19   because they say so. “To forestall an action under the unfair competition law,
  20   another provision must actually ‘bar’ the action or clearly permit the conduct.” See
  21   Loeffler v. Target Corp., 58 Cal. 4th 1081, 1125 (2014) (emphasis in original)
  22   (internal quotation omitted). Defendants have proffered no support for the
  23   contention that the LIBOR Act clearly permits their conduct. In any event,
  24   Defendants do not seek to certify questions regarding federal preemption or whether
  25   the UCL safe harbor would apply in this litigation.
  26         For these reasons, the question presented by Defendants is not a controlling,
  27   pure question of law.
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   1                2.     Defendants cannot demonstrate that there are substantial
   2                       grounds for difference of opinion.
   3         Defendants do not challenge the Court’s determination that a public policy
   4   consideration of the LIBOR Act is the protection for floating-rate instruments from
   5   becoming fixed-rate instruments, and only seek to certify the Court’s rejection of
   6   their reading of the statute. Defendants again fail to demonstrate that there are
   7   substantial grounds for a difference of opinion and merely improperly debate the
   8   merits of the underling motion. Ordaz Gonzalez, 2020 WL 3412731, at *5.
   9         Rather than stand on their assertion that “[o]ne of the best indications that
  10   there are substantial grounds for disagreement on a question of law is that other
  11   courts have, in fact, disagreed,” Mtn. at 10, n.3, Defendants now attempt to
  12   convince the court that the complete lack of case law clearly establishes the
  13   substantial ground, Mtn. at 15, quoting Mothershead v. Wofford, 2022 WL
  14   2755929, at *2 (W.D. Wash. July 14, 2002). Defendants’ arguments are
  15   unpersuasive.
  16         Defendants cannot rely on the fact that a case presents a matter of first
  17   impression to establish that a substantial difference of opinion exists. Couch,
  18   611 F.3d 629 (9th Cir. 2010) (“[T]he mere presence of a disputed issue that is a
  19   question of first impression, standing alone, is insufficient to demonstrate a
  20   substantial ground for difference of opinion.”), quoting In re Flor, 79 F.3d 281, 284
  21   (2d Cir. 1996); see also Union County, Iowa v. Piper Jaffray & Co., Inc., 525 F.3d
  22   643 (8th Cir. 2008) (“[A] dearth of cases does not constitute substantial ground for
  23   difference of opinion.”) (internal quotation omitted). While Defendants are not
  24   required to wait for adverse authority to certify interlocutory appeal, they also
  25   cannot point to a vacuum. See Couch, 611 F.3d at 633 (“[J]ust because a court is
  26   the first to rule on a particular question … does not mean there is such a substantial
  27   difference as to warrant interlocutory appeal.”). Their sole basis for this difference
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   1   of opinion cannot be Defendants’ self-interested differing opinion. Judicial Watch,
   2   Inc. v. Nat’l Energy Policy Dev. Grp., 233 F. Supp. 2d 16, 31 (D.D.C. 2002)
   3   (“[D]efendants’ conviction of the correctness of their position is insufficient to carry
   4   them over the high threshold posed by the standard governing certification for
   5   interlocutory appeal.”). The moving party must point to some persuasive authority
   6   that would justify a difference of opinion, regardless of whether the issue is novel.
   7   See Couch v. Telescope, Inc., 2008 WL 11363646, at *4 (C.D. Cal. Mar. 26, 2008)
   8   (“Defendants have not identified any legal authority discussing the [g]ame at issue
   9   that disagrees with the Court’s decision.”).4 Defendants have failed to do so.
  10         Instead, Defendants assert that the statute is unambiguous and thus, Plaintiff
  11   offers no “compelling reasons” to conclude there was an ambiguity. Mtn. at 16. But
  12   that is not the case. Plaintiff pointed to inconsistencies in the usage of commas and
  13   the word “or” within the definition of “benchmark replacement.” Opp. at 13.
  14   Plaintiff cited the House Legislative Counsel’s Manual on Drafting, case law from
  15   the Eastern District of Virginia, and the Chicago Manual of Style. Opp. at 13. Rep.
  16   at 11. Nothing in Defendants’ cases contravene Plaintiff’s demonstration of
  17   ambiguity. Defendants again misstate the law by selectively quoting language in a
  18   case where they assert that the Supreme Court has held that the word or “is almost
  19   always disjunctive . . .,” and ignoring that the Court also held that or “can
  20   sometimes introduce an appositive—a word or phrase that is synonymous with what
  21   precedes it . . . .” United States v. Woods, 571 U.S. 31, 45 (2013). Once again,
  22   Defendants’ strong disagreement with the Court’s determination does not warrant
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         In Couch, the district court explicitly held that there was no substantial ground for
  25   difference of opinion, but nevertheless certified interlocutory appeal on the basis of
  26   comity. 2008 WL 11363646, at *4. The Ninth Circuit agreed with the district court’s
       finding that no substantial ground existed and vacated the order certifying appeal as
  27   improper under § 1292. 611 F.3d at 634 (The “interests of comity is not one of our
  28   statutory bases for jurisdiction over less than final judgments.”).
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   1   interlocutory review. Rieve, 870 F. Supp. 2d at 880 (C.D. Cal. 2012). Defendants
   2   have failed to demonstrate that the Court cannot consider basic grammar when
   3   deciding if a statute is ambiguous. Defendants do not dispute that legislative history
   4   could provide meaningful insight into the intended purpose of a statute. Nor do they
   5   provide support for their position that the intent of the LIBOR Act was to protect
   6   companies who convert floating-rate instruments into permanent fixed-rate
   7   instruments, or that the LIBOR Act would deem a fixed rate a benchmark rate.
   8         The cases cited by Defendants cut against their argument that a vacuum of
   9   authority is sufficient to establish the requisite substantial grounds. The court in
  10   Deutsche Bank was not addressing a matter of first impression, but rather wrestling
  11   with the question of which of two Ninth Circuit opinions were more instructive
  12   under the unique facts of that case. Deutsche Bank Nat. Trust Co. v. F.D.I.C., 854
  13   F. Supp. 2d 756, 769 (C.D. Cal. 2011) (“McCarthy did not clearly identify the extent
  14   to which it left Sharpe’s holding intact.”). Similarly, in Reese, while there was a
  15   lack of “controlling” authority, the defendants were able to direct the court to
  16   numerous bodies of persuasive authority including treatises, academic articles, and
  17   opinions from other circuit courts. Compare 643 F.3d at 691-92 (relying on legal
  18   concepts articulated by the Second, Ninth, and Eleventh Circuits, the District Court
  19   for the District of Columbia, and Williston on Contracts) with Br. of Defendant-
  20   Appellant at 23, 10-35128 (9th Cir.), ECF No. 10-1 (citing same sources); see also
  21   Reese v. Browne, Defendants’ Reply in Further Support of Their Motion to Dismiss
  22   Consolidated Amended Class Action Complaint at 7-8, No. 2:08-cv-01008 (W.D.
  23   Wash. Oct. 06, 2008), ECF No. 112 (citing case law from S.D.N.Y.). Defendants
  24   have not presented a single piece of persuasive authority to demonstrate any
  25   ground—much less a substantial ground— for a difference of opinion.
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   1                3.       Certification will not materially advance the resolution of
   2                         this litigation.
   3         Defendants claim that if the Ninth Circuit agrees with their definition of
   4   “benchmark replacement”, the entire case must be dismissed. Mtn. at 17-18. But
   5   that argument ignores that the Court upheld Plaintiff’s UCL unfairness claim. Order
   6   at 19. The Court determined that the policy goal of the LIBOR act was to “prevent
   7   floating-rate instruments from unfairly converting into fixed rate instruments.”
   8   Order at 16. Defendants do not contest the Court’s determination of the public
   9   policy guiding the LIBOR Act; they only challenge the Court’s decision that
  10   PennyMac’s use of a fixed rate violates the LIBOR Act. Mtn. at 16. Thus,
  11   certification of this issue for interlocutory appeal would not “end” the litigation as
  12   Defendants claim, Mtn. at 18.
  13   V.    DEFENDANTS’ MOTION TO STAY SHOULD BE DENIED
  14         In addition to seeking interlocutory review, Defendants seek a stay of
  15   proceedings at the trial level should their Motion be granted. The Court has broad
  16   discretion to decide whether a stay is appropriate. Manes v. City of Santa Ana,
  17   2023 WL 8115865, at *1 (C.D. Cal. 2023). In determining whether a stay is
  18   appropriate pending interlocutory review, the Court should consider whether
  19   (1) interlocutory review would materially advance the ultimate termination of the
  20   litigation, and (2) whether a stay would promote economy of time and effort. Am.
  21   Hotel & Lodgings Ass’n v. City of Los Angeles, 2015 WL 10791930, at *3 (C.D.
  22   Cal. Nov. 5, 2015). For all the reasons stated above, interlocutory review will not
  23   materially advance the ultimate termination of this litigation or promote economy
  24   of time and effort.
  25         Indeed, even if an appeal were to happen and both issues were resolved in
  26   Defendants’ favor, the case would still proceed. As such, there is no reason to stay
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   1   the case and delay discovery. Staying the case would just prolong the case, which
   2   is directly at odds with judicial economy and efficiency.
   3         Further, Plaintiff and the putative class would be materially harmed by any
   4   delay in this case’s resolution. In support of their request for a stay, Defendants
   5   argue that Plaintiff will not be harmed because Plaintiff only seeks damages. Mtn.
   6   at 19, n.7. This is false. The Complaint clearly states that Plaintiff also seeks a
   7   declaration that Defendants must implement SOFR as the applicable benchmark for
   8   dividends, as well as any additional injunctive relief that the Court deems
   9   appropriate to enforce its judgment. Compl. at 23. Until Defendants adopt SOFR as
  10   the appropriate benchmark replacement for LIBOR, Plaintiff and the putative class
  11   face imminent, continuous harm.
  12   VI.   CONCLUSION
  13         For the reasons stated above, Defendants’ Motion to certify issues for
  14   interlocutory appeal and its request for a stay, should be denied in its entirety.
  15
  16   Dated: April 7, 2025                    BERMAN TABACCO
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                             CERTIFICATE OF COMPLIANCE
   1
              The undersigned, counsel of record for Plaintiff Roberto Verthelyi, certifies
   2
       that this brief contains 6,943 words, which complies with the word limit of L.R. 11-
   3
       6.1.
   4                                       /s/ Daniel E. Barenbaum
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